    Case 2:09-cr-00373-SSV-DEK             Document 326        Filed 02/27/12       Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                               CRIMINAL ACTION

VERSUS                                                                 NO. 09-373

HERMAN L. MCMILLAN                                                     SECTION “K”(3)


                                     ORDER AND OPINION


       Before the Court is the “Motion for Release of Documents Under F.O.I.A., Pursuant to 5

U.S.C. §552(a)” filed by defendant Herman L. McMillan, pro se (Doc. 320). In his motion, Mr.

McMillan requests that he be provided with a the following:

               1) Copy of Plea Bargain Under Oath Testimony
               2) Copy of Indictment
               3) Copy of Sentencing Transcript

Having reviewed the pleadings, memoranda, and relevant law, the Court, for the reasons assigned,

grants the motion in part and denies it in part.

       After receiving this motion, an employee of the Clerk of Court’s Office for the Eastern

District of Louisiana provided defendant, via United States mail, with a copy of his plea agreement

in this case as well as a copy of the indictment.

       Defendant seeks a copy of his sentencing transcript “to assist his preparation of a §3582(c)(2)

Motion.” Doc. 320. Title 18 U.S.C. §3582(c)(2) provides that:

               (c) Modification of an imposed term of imprisonment.–The court may
               not modify a term of imprisonment once it has been imposed except
               that –

                       (2) in the case of a defendant who has been sentenced
                       to a term of imprisonment based on a sentencing
                       range that has subsequently been lowered by the
                       Sentencing Commission pursuant to 28 U.S.C.
    Case 2:09-cr-00373-SSV-DEK              Document 326         Filed 02/27/12    Page 2 of 2




                        994(o), upon motion of the defendant or the Director
                        of the Bureau of Prisons, or on its own motion, the
                        court may reduce the term of imprisonment, after
                        considering the factors set forth in section 3553(a) to
                        the extent that they are applicable, if such a reduction
                        is consistent with applicable policy statements issued
                        by the Sentencing Commission.

The Court is familiar with Mr. McMillan’s case and recognizes that his motion to reduce a sentence

pursuant to 18 U.S.C. §3582(c)(2) will be based on the Fair Sentencing Act of 2010. A copy of the

sentencing transcript is not necessary for Mr. McMillan to prepare and file his motion. Therefore,

the motion is Denied.

       New Orleans, Louisiana, this 27th day of February, 2012.




                                                     STANWOOD R. DUVAL, JR.
                                                 UNITED STATES DISTRICT JUDGE




                                                   2
